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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

                                                 )
IN RE PHARMACEUTICAL INDUSTRY                    )    MDL NO. 1456
AVERAGE WHOLESALE PRICE                          )    Civil Action No. 01-12257-PBS
LITIGATION                                       )    Subcategory Case No: 03-10643-PBS
                                                 )
                                                 )
THIS DOCUMENT RELATES TO:                        )    Judge Patti B. Saris
                                                 )
       The City of New York, et al.              )
                                                 )
v.                                               )
                                                 )
       Abbott Laboratories, et al.               )
                                                 )


                      [PROPOSED] ORDER OF DISMISSAL OF
               PLAINTIFFS’ CLAIMS AGAINST THE TEVA DEFENDANTS

       WHEREFORE, IT IS ORDERED, that

       1.      Pursuant to Fed. R. Civ. P. 41 and the terms of the Settlement Agreement by and

among the Consolidated New York Counties and defendants Teva Pharmaceuticals USA, Inc.,

Novopharm USA, Inc., Barr Laboratories, Inc., Ivax Corporation, Ivax Pharmaceuticals, Inc.,

Sicor, Inc., and Sicor Pharmaceuticals, Inc. (f/k/a Gensia Laboratories, Ltd.) (collectively, the

“Teva Defendants”), claims in this action against the Teva Defendants are dismissed with

prejudice and without costs to any party.


       2.      Each party shall be responsible for its own expenses, attorneys’ fees, and costs.


       3.      The Court shall retain jurisdiction to enforce the terms, conditions, and releases of

the Parties’ Settlement Agreement and Release to the extent reasonably necessary and

appropriate.



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IT IS SO ORDERED this ___ day of _______________, 2010




                                ________________________________________
                                THE HONORABLE PATTI B. SARIS
                                UNITED STATES DISTRICT COURT JUDGE




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